~.AO   245D 	 (Rev. 12101) Judgment
                        Case        in a Criminal Case tor RevocationsDocument
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              Sheet 1



                                    UNITED STATES DISTRICT COURT                                                         MAR 0 I 2012
                                               Missoula Division District of Montana                              PATRICK E. DUFFY, CLERK

                                                                                                                By-;:oe=Pl1TY==ClE:-=R::;K""",MI""S"'SOU=::-LA:­
          UNITED STATES OF AMERICA 	                                   .Judgment in a Criminal Case
                     v.                                                (For Revocation of Probation Or Supervised Release)
               DAVID ALAN MOORSE

                                                                       Case No. CR 07·14·M·DWM·01
                                                                       USM No. 09504-046
                                                                        Andrew Nelson
                                                                                               Defendant's Attorney
THE DEFENDANT:
r;f admitted gUilt to violation ofwndition(s)      Std. Cnds. 7, 2, and 3  ofthe term of supervision.
o    was found in violation of condition(s)        _ _ _ _ _ _ _ _ _ _ after denial of guill.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                            Violation Ended
1                              Std. Cnd. 7: Used controlled substances                                      0112512012


3	                             Std. Cnd. 3: Failed to follow instructions of probation officer              0211312012


       The defendant is sentenced as provided in pages 2 through _ ......
                                                                       2__ ofthis judgment. The sentence is imposed puTSuant to
the Sentencing Reform Act of 1984.
o    The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition..

          It is ordered that the defendant must notify the United States attorney for this dislrict within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa(d. !f ordered to pay restitution, the defendant must notifY the court and United States attorney ofmateriar c . es m
economIc clrcumstances, 


Last Four Digits of Defendant's Soc. Sec. No.: 6827 


Defendant's Year of Birth:         1985 


City and State of Defendant's Residence: 

Missoula, MT
  AO 245D       (RC'Y. 1'lJ07)Case   9:07-cr-00014-DWM
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                Sheet 2- Imprisonment

                                                                                                  Judgment - Page   _.:2_   of    2
  DEFENDANT: DAVID ALAN MOORSE
  CASE NUMBER: CR 07-14-M-DWM-01


                                                               IMPRISONMENT

           The defendant is hereby committed to the custody ofthe United States Bureau ofPrisons to be imprisoned for a total 

  total tenn of: 

12 months.




     "      The court makes the following recommendations to the Bureau of Prisons:

It is recommended that Defendant be placed at a Bureau of Prisons facility other than the facility at Sheridan because he has
had conflicts there in the past.



     "      The defendant is remanded to the custody ofthe United States Marshal.

     o      The defendant shall surrender to the United States Marshal for this district:
            o    at   ________ 0                        a.m.     0   p.m.      on

            o    as notified by the United States Marshal.

     o      The defendant shall surrender for service of sentence at the institution designated by the Bureau ofPrisons:
            o     before 2 p.m. on
            o    as notified by the United States Marshal.
            o    as notified by the Probation or Pretrial Services Office.

                                                                      RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                        to

  at _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                            By _____~~~~~~~~~~~~-------
                                                                                     DEPUTY UNITED STATES MARSHAL
